          Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 1 of 8




                                    Exhibit E




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                   20CV372366        Case #20CV372366
                         on 11/28/2023 3:49 PM   Santa Clara – Civil Envelope: 13705467
                      Case 2:22-cv-01656-DAD-JDP
                         Reviewed  By: V. Wong   Document 42-6 Filed 05/20/24 Page 2 of 8
                                                                                                                                   EFS-020
                                                                                                                                        V. Wong
ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE BAR NO.: 335469
                                                                                                          FOR COURT USE ONLY
NAME:  Mackenzie Anderson
FIRM NAME: Civil Rights Department
STREET ADDRESS: 2218 Kausen Drive, Suite 100
CITY: Elk Grove                                         STATE: CA      ZIP CODE: 95758
TELEPHONE NO.: (916) 478-7251                          FAX NO.: (888) 382-5293

E-MAIL ADDRESS: Mackenzie.Anderson@calcivilrights.ca.gov

ATTORNEY FOR (name): Plaintiff Civil Rights Department

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Santa Clara
 STREET ADDRESS: 191 North First Street
 MAILING ADDRESS: 191 North First Street
CITY AND ZIP CODE: San Jose, CA 95113
     BRANCH NAME: Downtown Superior Court
                                                                                           CASE NUMBER:

      PLAINTIFF/PETITIONER: Civil Rights Department
                                                                                           20CV372366

 DEFENDANT/RESPONDENT: Cisco Systems, Inc.                                                 JUDICIAL OFFICER:
                                                                                           Hon. Amber Rosen
                            OTHER:
                                                                                           DEPT:
                                  PROPOSED ORDER (COVER SHEET)                             16




 NOTE: This cover sheet is to be used to electronically file and submit to the court a proposed order. The proposed order sent
 electronically to the court must be in PDF format and must be attached to this cover sheet. In addition, a version of the proposed
 order in an editable word-processing format must be sent to the court at the same time as this cover sheet and the attached proposed
 order in PDF format are filed.


1. Name of the party submitting the proposed order:
   Civil Rights Department (formerly Department of Fair Employment and Housing)



2. Title of the proposed order:
     [Proposed] Order on Hindu American Foundation's Motion for Leave to Intervene



3. The proceeding to which the proposed order relates is:

     a. Description of proceeding: Hindu American Foundation's Motion for Leave to Intervene

     b. Date and time: November 16, 2023, at 9:00 a.m.

     c. Place: 191 North First Street
               San Jose, CA 95113




4. The proposed order was served on the other parties in the case.




Mackenzie Anderson
                             (TYPE OR PRINT NAME)                                        (SIGNATURE OF PARTY O
                                                                                                             OR ATTORNEY)


                                                                                                                                      Page 1 of 2

Form Adopted for Mandatory Use
Judicial Council of California
                                                    PROPOSED ORDER (COVER SHEET)                                               Cal. Rules of Court,
                                                                                                                               rules 2.252, 3.1312
EFS-020 [Rev. February 1, 2017]                           (Electronic Filing)                                                   www.courts.ca.gov
                      Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 3 of 8
                                                                                                                                    EFS-020
  CASE NAME:           ')(+Y&LVFR6\VWHPV,QFHWDO                                      CASE NUMBER:
                                                                                               20CV372366



                                                        PROOF OF ELECTRONIC SERVICE
                                                              PROPOSED ORDER




1. I am at least 18 years old and not a party to this action.


      a. My residence or business address is (specify):
          2218 Kausen Drive, Suite 100, Elk Grove, CA 95758




      b. My electronic service address is (specify):




2. I electronically served the Proposed Order (Cover Sheet) with a proposed order in PDF format attached, and a proposed order in
   an editable word-processing format as follows:

      a. On (name of person served) (If the person served is an attorney, the party or parties represented should also be stated.):




      b. To (electronic service address of person served):

      c. On (date):



  ✖     Electronic service of the Proposed Order (Cover Sheet) with the attached proposed order in PDF format and service of the
        proposed order in an editable word-processing format on additional persons are described in an attachment.




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:




                (TYPE OR PRINT NAME OF DECLARANT)                                                 (SIGNATURE OF DECLARANT)




EFS-020 [Rev. February 1, 2017]                       PROPOSED ORDER (COVER SHEET)                                                    Page 2 of 2

                                                            (Electronic Filing)
For your protection and privacy, please press the Clear
This Form button after you have printed the form.             Print this form     Save this form                             Clear this form
       Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 4 of 8


 1   JAMIE CROOK (#245757)
     Chief Counsel
 2   RUMIE VUONG (#264392)
     Assistant Chief Counsel
 3   ROYA MASSOUMI (#242697)
     Associate Chief Counsel
 4   DYLAN COLBERT
     Staff Counsel (#341424)
 5   California Civil Rights Department
 6   2218 Kausen Drive, Suite 100
     Elk Grove, CA 95758
 7   Telephone: (916) 478-7251
     Facsimile:     (888) 382-5293
 8
     Attorneys for Plaintiff
 9   California Civil Rights Department
     (Fee Exempt, Gov. Code, § 6103)
10

11
                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                            IN AND FOR THE COUNTY OF SANTA CLARA
13
     CALIFORNIA DEPARTMENT OF FAIR             )               Case No.: 20CV372366
14   EMPLOYMENT AND HOUSING, an agency )
     of the State of California,               )
15                                             )               [PROPOSED] ORDER ON HINDU
     Plaintiff,                                )               AMERICAN FOUNDATION’S MOTION
16                                             )               FOR LEAVE TO INTERVENE
     v.                                        )
17                                             )               Dept.: 16
     CISCO SYSTEMS, INC., a California         )               Judge: Hon. Amber Rosen
18   Corporation; SUNDAR IYER, an individual; )
     RAMANA KOMPELLA, an individual,           )
19                                             )               Complaint Filed:          October 16, 2020
                                    Defendants.)
20                                             )
                                               )
21                                             )
                                               )
22                                             )
                                               )
23                                             )
                                               )
24                                             )
                                               )
25

26

27

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                  Cal. Dept. of Fair Emp. and Hous. v. Cisco Systems, Inc., et al. (Case No. 20CV372366)
                                 [Proposed] Order on HAF’s Motion for Leave to Intervene
       Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 5 of 8


 1           The Hindu American Foundation’s (“HAF”) Motion for Leave to Intervene came on for

 2   hearing before the Honorable Amber Rosen on November 16, 2023 at 9:00 a.m. in Department

 3   16. The matter having been submitted, after full consideration of the authorities and evidence

 4   submitted by each party in their papers and at the hearing, and the arguments made by the parties

 5   in their papers and at the hearing, the Court makes the following ruling:

 6           The Hindu American Foundation has filed a motion to intervene in the case. Plaintiff,

 7   California Department of Fair Employment and Housing, now Civil Rights Department (CRD),

 8   opposes the intervention.

 9           Plaintiff’s request for judicial notice is granted. Evid. Code § 452.

10           Mandatory intervention is available if a non-party can establish: (1) the non-party has “an

11   interest relating to the property or transaction that is the subject of the action,” (2) that the

12   “disposition of the action may impair or impede [the non-party’s] ability to protect that interest,”

13   and (3) the interest is not “adequately represented by one or more of the existing parties.” (§ 387

14   subd. (d)(1)(B).) “These criteria are virtually identical to those for compulsory joinder of an

15   indispensable party.” (Carlsbad Police Officers Association v. City of Carlsbad (2020) 49

16   Cal.App.5th 135, 148.) Section 387, subdivision (d)(2) provides for permissive intervention

17   where a nonparty timely applies and “(1) the intervenor has a direct and immediate interest in the

18   litigation, (2) the intervention will not enlarge the issues in the case, and (3) the reasons for

19   intervention outweigh opposition by the existing parties.” (Hinton v. Beck (2009) 176

20   Cal.App.4th 1378, 1382–1383.)” If these factors are met, permissive intervention is still

21   discretionary.

22           For intervention as a right, the interest must be legally “protectable.” (Accurso, 94

23   Cal.App.5th at 1145.) HAF’s motion raises a free exercise claim under the First Amendment. To

24   establish a viable free exercise claim a plaintiff must show that a government action substantially

25   burdened or had a coercive effect on their practice of religion. (See Harris v. McRae (1980) 448

26   U.S. 297, 321 [organizational plaintiff must demonstrate coercive effect against the practice of

27   individual member’s religions]; Jones v. Williams (9th Cir. 2015) 791 F.3d 1023, 1031–1032

28   [plaintiff must show that the government action in question substantially burdens the person’s
                                                            -2-
                   Cal. Dept. of Fair Emp. and Hous. v. Cisco Systems, Inc., et al. (Case No. 20CV372366)
                                  [Proposed] Order on HAF’s Motion for Leave to Intervene
         Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 6 of 8


 1   practice of their religion].) 1 “A substantial burden . . . place[s] more than an inconvenience on

 2   religious exercise; it must have a tendency to coerce individuals into acting contrary to their

 3   religious beliefs or exert substantial pressure on an adherent to modify his behavior and to

 4   violate his beliefs.” (Jones, 791 F.3d at 1031-1032.) HAF has not demonstrated a viable Free

 5   Exercise Clause claim as required for mandatory intervention. HAF’s complaint does not allege

 6   any facts showing that CRD coerced anyone into doing something inimical to their religious

 7   convictions or otherwise prevented them from being able to practice their religion. Seeking to

 8   end caste-based discrimination at Cisco (the goal of CRD’s enforcement action) would not

 9   prevent or burden Hindu Americans from practicing their religion. HAF’s motion erroneously

10   characterizes CRD’s enforcement action as seeking to define Hinduism, but erroneously defining

11   or characterizing a religion in a pleading does not have an unlawful coercive effect on an

12   adherent’s ability to practice their religion.

13           HAF’s proposed complaint also contains a cause of action under the Unruh Act. This

14   cause of action is legally insufficient as Unruh “prohibits arbitrary discrimination in California

15   business establishments on the basis of specified classifications.” (Harrison v. City of Rancho

16   Mirage (2015) 243 Cal.App.4th 162, 172.) Government entities are only liable under Unruh

17   when they act as business establishments. (Ibid. at p. 175-76.) Here, HAF argues that CRD’s

18   actions are legislative in nature--the type of actions courts have found is not liable under Unruh.

19   (See ibid. at p. 175.) HAF does not have a legal interest under Unruh as CRD is not acting as a

20   business establishment.

21           The lack of interest is sufficient to deny mandatory intervention. It should be noted that it

22   does not appear that HAF can meet the second criteria for mandatory intervention either-that the

23   disposition of the action may impair HAF’s ability to protect the free exercise of Hinduism. The

24   point of the lawsuit is to prevent discrimination at Cisco based on caste. It is hard to see how

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     1
      Due to the similarities between Code of Civil Procedure section 387 and Federal Rules of Civil
27   Procedure Rule 24, it is proper for California courts to “take guidance from federal law” in
28   interpreting section 387. (Accurso, supra, 94 Cal.App.5th at 1138.)
                                                            -2-
                   Cal. Dept. of Fair Emp. and Hous. v. Cisco Systems, Inc., et al. (Case No. 20CV372366)
                                  [Proposed] Order on HAF’s Motion for Leave to Intervene
Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 7 of 8
       Case 2:22-cv-01656-DAD-JDP Document 42-6 Filed 05/20/24 Page 8 of 8


 1                                           PROOF OF SERVICE
 2          I, Mackenzie Anderson, the undersigned, hereby declare:
 3          I am over eighteen years of age and not a party to the within cause. My business address
 4   is 2218 Kausen Drive, Suite 100, Elk Grove, CA 95758. My electronic service address is
 5   mackenzie.anderson@calcivilrights.ca.gov.
 6          On the date below, I served the following document(s) via Electronic Service:
 7      x   [PROPOSED] ORDER ON HINDU AMERICAN FOUNDATION’S MOTION
 8          FOR LEAVE TO INTERVENE
 9          In the case DFEH v. Cisco Systems, Inc. et al, Santa Clara County Superior Court Case
10   No.: 20CV372366, to the person(s) listed below at the following e-mail address(es):
11
      Jamie Crook                                            Lynne C. Hermle
12    Jamie.Crook@calcivilrights.ca.gov                      lchermle@orrick.com
      Rumduol Vuong                                          Joseph C. Liburt
13
      rumduol.vuong@calcivilrights.ca.gov                    jliburt@orrick.com
14    Dylan Colbert                                          Nicholas J. Horton
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15    Roya Massoumi                                          Attorneys for Defendant Cisco Systems, Inc.
      Roya.Massoumi@CalCivilRights.ca.gov
16    Attorneys for Plaintiff
17    California Department of Fair Employment
      and Housing
18

19    Timothy Travelstead
      t.travelstead@narayantravelstead.com
20    Scott Ku
      s.ku@narayantravelstead.com
21    Attorneys for Hindu American Foundation
22
            I declare under penalty of perjury under the laws of the State of California that the
23
     foregoing is true and correct.
24
            Executed on November 21, 2023, at Los Angeles, CA.
25
                                                                  /s/ Mackenzie Anderson
26
                                                                  Mackenzie Anderson, Staff Counsel
27                                                                Civil Rights Department (formerly DFEH)

28
                                                            -3-
                   Cal. Dept. of Fair Emp. and Hous. v. Cisco Systems, Inc., et al. (Case No. 20CV372366)
                                                      Proof of Service
